LexisNexis:

Page 1

NORFOLK COUNTY RETIREMENT SYSTEM, individually and on behalf of all
others similarly situated, Plaintiff, vy. COMMUNITY HEALTH SYSTEMS, INC.,
WAYNE T. SMITH, and W. LARRY CASH, Defendants. DE ZHENG, individually
and on behalf of all others similarly situated, Plaintiff, vs. COMMUNITY HEALTH
SYSTEMS, INC., WAYNE T. SMITH, and W. LARRY CASH, Defendants.
MINNEAPOLIS FIREFIGHTERS' RELIEF ASSOCIATION, individually and on
behalf of all others similarly situated, Plaintiff, vs. COMMUNITY HEALTH
SYSTEMS, INC., WAYNE T. SMITH, W. LARRY CASH and THOMAS MARK
BUFORD, Defendants.

CASE NO. 3:11-cv-0433,CASE NO. 3:11-cv-0451,CASE NO. 3:11-cv-0601

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
TENNESSEE, NASHVILLE DIVISION

2011 U.S, Dist. LEXTS 149899

November 28, 2011, Filed

SUBSEQUENT HISTORY: Adopted by, Motion
granted by Norfolk County Ret. Sys. v. Cmty. Health Sys.,
2011 U.S. Dist. LEXIS 150418 (M.D. Tenn., Dec. 28,
2011)

Dismissed by Norfolk Cnty. Ret. Sys. v. Cmty. Health
Sys., 2016 U.S. Dist. LEXTS 78602 (M.D. Tenn., June 16,
2016)

COUNSEL: [*1] For Norfolk County Retirement
System, Individually and on Behalf of all Others
Similarly Situated (3:11-cv-00433), Plaintiff: Christopher
J. Keller, Michael W. Stocker, Rachel A. Avan, Labaton
Sucharow LLP, New York, NY; James Gerard Stranch,
IV, Branstetter, Stranch & Jennings, Nashville, TN.

For General Retirement System of the City of Detroit
(3:11-cv-00433), Plaintiff: David 8. Hagy, David S.
Hagy, Attorney at Law, Nashville, TN.

For NYC Funds (3:11-cv-00433), Plaintiff: Barbara J.
Hart, David Harrison, Scott Vincent Papp, Thomas
Skelton, Lowey Dannenberg Cohen & Hart PC, White

Case 3:16-cv-02267 Document 39-4

Filed 10/24/16

Plains, NY; Kyle A. Young, T. Harold Pinkley, Miller &
Martin, PLLC, Nashville, TN.

For Alberta Investment Management Corp, State-Boston
Retirement System (3:11-cv-00433), Plaintiffs: James
Gerard Stranch, IV, Branstetter, Stranch & Jennings,
Nashville, TN.

For Community Health Systems, Inc., Wayne T. Smith,
W. Larry Cash (3:11-cv-00433), Defendants: John R.
Jacobson, LEAD ATTORNEY, Riley, Warnock &
Jacobson, Nashville, TN; Evan Jude Saucier, James
Maxwell Cooper, Joel A. Blanchet, Peter Duffy Doyle,
Kirkland & Ellis (NY), New York, NY.

For De Zheng, Individually and on Behalf of All Others
Similarly Situated [*2] (3:11-cv-00451), Plaintiff: David
J. George, James L. Davidson, Robert J. Robbins,
Robbins Geller Rudman & Dowd LLP, Boca Raton, FL;
James Gerard Stranch, III, Branstetter, Stranch &
Jennings, Nashville, TN; Jeffrey A. Berens, Dyer &
Berens LLP, Denver, CO; Michael I. Fistel, Jr., PRO
HAC VICE, Holzer, Holzer & Fistel, LLC, Atlanta, GA.

Page 1 of 9 PagelD #: 466
Page 2

2011 U.S. Dist. LEXIS 149899, *2

For NYC Funds (3:11-cv-00451), Plaintiff: Barbara J.
Hart, David Harrison, Scott Vincent Papp, Thomas
Skelton, Lowey Dannenberg Cohen & Hart PC, White
Plains, NY; Kyle A. Young, T. Harold Pinkley, Miller &
Martin, PLLC, Nashville, TN.

For AIMCo/Boston (3:11-cv-00451), Plaintiff: James
Gerard Stranch, III, James Gerard Stranch, IV,
Branstetter, Stranch & Jennings, Nashville, TN.

For Community Health Systems, Inc., Wayne Smith, W.
Larry Cash (3:11-cv-00451), Defendants: John R.
Jacobson, LEAD ATTORNEY, Riley, Warnock &
Jacobson, Nashville, TN; Evan Jude Saucier, James
Maxwell Cooper, Joel A. Blanchet, Peter Duffy Doyle,
Kirkland & Ellis (NY), New York, NY.

For Minneapolis Firefighters' Relief Association, on
behalf of itself and all others similarly situated
(3:11-cv-00601), Plaintiff: Frederic S. Fox, Joel B.
Strauss, Pamela A. Mayer, Kaplan Fox Kilsheimer [*3]
LLP, New York, NY; Karen Hanson Riebel, Richard A.
Lockridge, Lockridge Grindal Nauen P.L.L-P.,
Minneapolis, MN; Michael K. Radford, Flynn &
Radford, Brentwood, TN.

For NYC Funds (3:11-cv-00601), Plaintiff: Barbara J.
Hart, David Harrison, Scott Vincent Papp, Thomas
Skelton, Lowey Dannenberg Cohen & Hart PC, White
Plains, NY; Kyle A. Young, T. Harold Pinkley, Miller &
Martin, PLLC, Nashville, TN.

For AIMCo/Boston (3:11-cv-00601), Plaintiff: James
Gerard Stranch, III, James Gerard Stranch, IV,
Branstetter, Stranch & Jennings, Nashville, TN.

For Community Health Systems, Inc., Wayne T. Smith,
Larry Cash, Thomas Mark Buford (3:11-cv-00601),
Defendants: John R. Jacobson, LEAD ATTORNEY,
James N. Bowen, Milton S. McGee, II, Riley, Warnock
& Jacobson, Nashville, TN; Evan Jude Saucier, James
Maxwell Cooper, Joel A. Blanchet, Peter Duffy Doyle,
Kirkland & Ellis (NY), New York, NY.

JUDGES: E. Clifton Knowles, United States Magistrate
Judge.

OPINION BY: E. Clifton Knowles

OPINION

Case 3:16-cv-02267 Document 39-4

Filed 10/24/16

REPORT AND RECOMMENDATION

This matter is before the Court upon three Motions to
Consolidate Cases, Appoint Lead Counsel, and Approve
Selection of Lead Counsel, filed by Plaintiff General
Retirement System of the City of Detroit (Docket No.
22), Plaintiff [*4] NYC Funds (Docket No. 23), and a
single Motion filed by two Plaintiffs -Alberta Investment
Management Corp. and State-Boston Retirement System
(hereinafter referred to as Alberta/Boston) (Docket No.
29). Judge Nixon has referred these Motions to the
undersigned for consideration and a hearing, if necessary.
Docket No. 51.

The moving Plaintiffs, and others, have filed three
separate lawsuits in this Court, as noted in the style
above. These putative private class actions, filed pursuant
to the Private Securities Litigation Reform Act
("PSLRA"), 15 U.S.C. § 78u-4, essentially allege that
Defendants Community Health Systems, Inc. ("CHS"),
Wayne T. Smith, and W. Larry Cash committed
securities fraud. !

1 All three of the actions are filed against these
three Defendants. There are several additional
individual Defendants in Civil Action No.
3:11-0601.

The Court notes that the three pending Motions all
seek a consolidation of these three cases. Defendants, all
of whom are represented by counsel, have not filed any
materials in opposition to the pending Motions.

Therefore, the undersigned recommends that the
Motions for Consolidation be GRANTED and that these
three actions be consolidated under [*5] the lead Case
3:11-0433, and that all future filings be made in that
action.

As stated above, three separate Plaintiffs, or sets of
Plaintiffs, had sought to be appointed as lead Plaintiff or
Plaintiffs in these actions. Shortly after the Motions were
filed, the General Retirement System of the City of
Detroit filed a "Notice of Non-opposition . . . for
Appointment as Lead Plaintiff, Approval of Lead
Counsel, and Consolidation of All Related Actions."
Docket No. 43. Detroit stated in part:

Detroit recognizes that its losses are less

than those claimed by the competing
movants. Accordingly, Detroit does not

Page 2 of 9 PagelD #: 467
Case 3:16-cv-02267

2011 U.S. Dist. LEXIS 149899, *5

oppose the competing Motions.

Docket No. 43, p. 3.

Thus, the Motion at issue filed by Detroit (Docket
No. 22) should be DENIED.

The Court will tum to a consideration of the
competing Motions filed, on the one hand, by NYC
Funds, and on the other hand, by Alberta/Boston.

The appointment of a lead Plaintiff in the cases such
as these is governed by 15 U.S.C. § 78u-4(a)(3), which is
part of the PSLRA and which provides in relevant part as
follows:

(3) Appointment of lead plaintiff. (A)
Early notice to class members. (I) In
general. Not later than 20 days after the
date on which the complaint [*6] is filed,
the plaintiff or plaintiffs shall cause to be
published, in a widely circulated national
business - oriented publication or wire
service, a notice advising members of the
purported class --

(I) of the pendency of the
action, the claims asserted
therein, and the purported
class period; and

(ID) that, not later than
60 days after the date on
which the notice is
published, any member of
the purported class may
move the court to serve as
lead plaintiff of the
purported class.

(B) Appointment of lead plaintiff. (D
In general. Not later than 90 days after the
date on which a notice is published under
subparagraph (A)(I), the court shall
consider any motions made by a purported
class member in response to the notice,
including any motion by a class member
who is not individually named as a

Document 39-4 ‘Filed 10/24/16

plaintiff in the complaint or complaints,
and shall appoint as lead plaintiff the
member or members of the purported
plaintiff class that the court determines to
be most capable of adequately
representing the interests of class members
(hereafter in this paragraph referred to as
the "most adequate plaintiff) in
accordance with this subparagraph.

(iii) Rebutable presumption. (I) In
general. [*7] Subject to subclause (ID) for
purposes of clause (I), the court shall
adopt a presumption that the most
adequate plaintiff in any private action
arising under this title is the person or
group of persons that --

(aa) has either filed a complaint or
made a motion in response to a notice
under subparagraph (A)(1);

(bb) in the determination of the court
has the largest financial interest in the
relief sought by the class; and

(cc) otherwise satisfies the
requirements of Rule 23 of the Federal
Rules of Civil Procedure.

(I) Rebuttal evidence. The
presumption described in subclause (1)
may be rebutted only upon proof by a
member of the purported plaintiff class
that the presumptively most adequate
plaintiff --

(aa) will not fairly and adequately
protect the interests of the class; or

(bb) is subject to unique defenses that
render such plaintiff incapable of
adequately representing the class.

Page 3

The question, therefore, becomes which of the
moving Plaintiffs has "the largest financial interest in the
relief sought by the class . . . ." This question, however,
does not appear to be as easy as it sounds, and has given
rise to many pages of legal Memoranda filed by the

Page 3 of 9 PagelD #: 468
Page 4

2011 U.S. Dist. LEXIS 149899, *7

moving Plaintiffs.

The Fourth Edition [*8] of the Manual for Complex
Litigation provides the following guidance with regard to
such Motions:

The PSLRA does not require courts to
hold a hearing on lead plaintiff motions. . .

Where the movant is a single investor
or institution, the court's task is fairly
straight forward. In identifying the
plaintiff with the largest financial interest,
courts have considered factors such as the
number of shares purchased or sold during
the class period, the net number of shares
purchased, the net funds spent, and
approximate losses suffered by the
plaintiff. These factors courts have found
helpful "because they look to relatively
objective indicators . . . rather than to the
ultimate question of images." One option
in assessing the merits of competing lead
plaintiff petitions is to have those parties
seeking lead plaintiff status file a joint
submission setting forth their claim
financial interests in comparing their
financial stakes in litigation, preferably
through an agreed on method. Such an
approach allows the court to assess the
merits of competing parties' positions
without expending significant judicial
resources wading through or
reconstructing underlying figures on
which the calculations [*9] are based. In
addition, the court may find it difficult to
reconcile damage calculations based on
different methodologies.

Manual for Complex Litigation (Fourth Ed.) § 31.31, p.
535-36.

As discussed above, the PSLRA provides that when
a class action is brought under its provisions, the Plaintiff
or Plaintiffs must give notice within 20 days of the
pendency of the action, the claims asserted therein, and
the purported Class Period. Additionally, not later than
60 days after the date on which the Notice is published,
any member of the purported class may move the Court

Case 3:16-cv-02267 Document 39-4

Filed 10/24/16

to serve as lead Plaintiff.

In the case at bar, the first of these actions (No.
3:11-00433) was filed on May 9, 2011. That same day,
the required Notice was given. Thus, Motions to serve as
lead Plaintiff were due within 60 days of the Notice,
which was July 8, 2011, and the two Motions at issue
were filed on that date. On July 25, 2011, each of the
moving parties filed a "Response" to the other's Motion.
Docket Nos. 45, 48. Finally, on August 8, 2011, each of
the moving parties filed a Reply to the other's Response.
Docket Nos. 52, 53.

The Court believes that the parties positions can be
best understood if the Court focuses [*10] upon their
arguments in a chronological fashion. The Court will,
therefore, attempt to do this below.

In their respective Motions, both movants argued
that some district courts in the Sixth Circuit have adopted
a four-factor test in determining which movant has the
largest financial interest in an action. With minor
variations in language, those four factors are basically
those set forth in the Manual for Complex Litigation, and
are as follows: (1) the number of shares purchased during
the Class Period, (2) the number of net shares purchased
during the Class Period, (3) the total net funds expended
by the movant during the Class Period; and (4) the
amount of loss suffered by the movant. Docket No. 24, p.
14; Docket No. 30, p. 12.

NYC argued that the most important factor is the
fourth factor. Alberta/Boston recognized that the amount
of loss suffered by the movant "is often the first factor
reviewed by the court . . . ." Docket No. 30, p. 12.
Alberta/Boston also argued, however, that the Court
should focus on the number of net shares purchased
during the class period. But, Alberta/Boston did not
specify how many "net shares" they purchased in their
Motion, nor did they discuss how many [*11] net shares
NYC purchased.

In its Motion, as modified by a subsequent
Correction, NYC argued that it purchased 762,966 shares
of CHS common stock during the proposed Class Period,
and suffered losses of $4,852,949 calculated based on the
First-in, first out ("FIFO") methodology, and losses of
$4,474,719 based upon the Last-in, first out ("LIFO")
methodology. 2 Docket No. 24, p. 6. Unfortunately,
neither party explains, at least in a manner
understandable by the Court, exactly what the LIFO

Page 4 of 9 PagelD #: 469
Page 5

2011 U.S. Dist. LEXIS 149899, *11

and/or FIFO methodologies are. NYC stated:

Under FIFO, "a plaintiff's sales of
defendant's shares in the class period are
matched first against any pre-existing
holdings of shares. The net gains or losses
from those transactions are excluded from
damages calculations." . . . "In contrast,
under LIFO a plaintiffs sales of
defendant's shares during the class period
are matched first against plaintiff's most
recent purchase of defendant's shares and
gains or losses from those transactions are
considered in damage calculations."

Docket No. 24, p. 14-15 n.6.

2 NYC stated in its Motion, "The NYC Funds'
FIFO losses are $4,812,687, and LIFO losses are
$4,413,165." Docket No. 24, p. 16. NYC
subsequently submitted [*12] a "Supplemental
Declaration of Barbara J. Hart . . ." which
corrected the number of shares purchased and the
amount of losses to those set forth in the text
above. Docket No. 34, p. 3.

NYC's explanation was cited to Johnson v. Dana
Corp., 236 FRD 349 (N.D. Ohio 2006). The Johnson
Court stated in part as follows:

The largest financial interest inquiry is
not complicated when parties only
purchase and sell shares within the class
period. The analysis, however, becomes
more complicated when parties enter the
class period having previously bought the
defendant's securities. Then, the question
arises: how to calculate plaintiff's damages
from purchasing shares at allegedly
inflated prices when it has, arguably, also
profited from selling shares at the same
inflated prices?

Under FIFO, a plaintiff's sales of
defendant's shares during the class period
are matched first against pre-existing
holdings of shares. The net gains or losses
from those transactions are excluded from
damage calculations.

In contrast, under LIFO, a plaintiff's

Case 3:16-cv-02267 Document 39-4

sales of defendant's shares during the class
period are matched first against the
plaintiffs most recent purchase of
defendant's shares and gains or losses
from [*13] those transactions are
considered in damage calculations.

Consequently, under FIFO, many
plaintiffs will show damages from
defendant's alleged misconduct when
those plaintiffs actually profited from the
misconduct.

236 FRD at 352.

Alberta/Boston did not mention FIFO, nor did it
make any attempt to explain the difference between the
LIFO and FIFO methodologies. 3

3 In other materials, Alberta/Boston appears to
state that their total FIFO losses were $4,098,606,
the same as their LIFO losses. Docket No. 31-2,
p. 3. Alberta/Boston later took the position that
LIFO is "the method of loss calculation preferred
by all courts ... ." Docket No. 48, p. 9. In their
Reply, Alberta/Boston states that, over the past
decade, courts "have universally rejected FIFO
calculations because this methodology has a
tendency to artificially inflate loss figures by
allowing a movant who actually profited from a
defendant's fraud to demonstrate damages."
Docket No. 52, p. 9.

In their Motion, Alberta/Boston stated that they
purchased 479,170 shares of CHS common stock and that
they suffered total losses of $4,098,606, as calculated
under the LIFO methodology. 4 Docket No. 30, p. 11, 12.
Alberta/Boston's Motion stated [*14] that they were
"presently unaware of any other movant with a larger
financial interest in the outcome of the Action." Docket
No. 30, p. 13.

4 This amount represents the LIFO losses of
Alberta and the LIFO losses of Boston added
together. Alberta's LIFO losses were $3,568,494,
and Boston's LIFO losses were $530,112.07, for a
total of $4,098,606.68. Docket No. 31-2, p. 2-3.

As discussed above, each of the competing lead
Plaintiffs filed a "Response" to the other's Motion.
Docket Nos. 45, 48. NYC reiterated its position that it

Filed 10/24/16 Page 5 of 9 PagelD #: 470
Page 6

2011 US. Dist. LEXIS 149899, *14

had the largest financial interest in the relief sought by
the class based upon its losses under either LIFO or
FIFO. NYC further argued that the Court did not need to
look further "to the less-important factors," particularly
because (at least some of) those other factors support the
same result. Specifically, NYC argued that it had
indisputedly purchased the largest number of shares
(although not "net" shares) during the class period. NYC
argued:

With respect to "net shares" purchased
and retained at the end of the class period,
the NYC funds have more net shares than
Alberta and Boston . . . and expended
more net funds, if the LIFO and FIFO
matching methodology [*15] is applied to
shares sold during the Class Period. . . . If
one abandons the well-accepted logic of
LIFO and FIFO, finally the result splits,
but only if one adds Alberta's and Boston's
numbers together. Hence, if shares
purchased are simply artificially netted
against shares sold during the Class
Period, Alberta when added to Boston
ekes ahead on net shares and net funds
expended. Yet, under either of these
methods, the NYC Funds have more net
shares than either Alberta or Boston
individually.

Docket No. 45, p. 4 (citations omitted).

NYC also referred to legal memoranda in other cases
involving Boston and its attorneys, the Labaton firm, in
which counsel agreed with the proposition that the largest
loss was determinative without further inquiry into the
other factors. Docket No. 45, p. 16-17 Specifically, with
regard to any argument concerning net shares, counsel
who now represents Alberta/Boston argued on behalf of
its client in a previous case that a movant with the highest
losses should prevail over a competing movant with
higher net shares and net expenditures as follows:

The only dispute is whether a movant's
"net shares purchased" should be given
more weight than losses suffered. [*16]
Respectfully, the answer is no.

First, the PSLRA does not direct
courts to assess "financial interests" in a

Case 3:16-cv-02267 Document 39-4

Filed 10/24/16

vacuum. Rather, a district court is required
to determine which movant possesses the
"largest financial interest in the relief
sought by the class." . . . The relief sought
by the class in this case is monetary
damages .. . and, the PSLRA provides
that damages are tethered to an investor's
loss, not the number of net shares
purchased.

Docket No. 46-5, p. 1 (footnote and citations omitted).

In their Response, Alberta/Boston conceded, "LIFO
is the preferred measure of Losses." Docket No. 48, p. 10.
Alberta/Boston next argued that NYC's LIFO loss was
less than NYC had claimed, because NYC had
improperly included "the trading losses of Fire, a fund
whose sales of fraud-inflated shares actually resulted in a
net profit of nearly half a million dollars." > Docket No.
48, p. 10. Alberta/Boston argued that Fire was both a "net
seller" (a Plaintiff who sold more shares than they
purchased during the Class Period) and a "net gainer" (a
Plaintiff who profited from sales of inflated stock during
the Class Period). Alberta/Boston argued, "Net sellers
and gainers are not suitable lead Plaintiffs [*17] because
they are subject to the unique defenses that they cannot
prove damages and may have profited from a company's
fraud." Docket No. 48, p. 11.

5 The NYC Funds, as the name implies, are a
group of related funds including the New York
City Employees Retirement System, the Teachers
Retirement System of the City of New York, the
New York City Teachers Variable Annuity
Program, the New York City Police Pension
Fund, and the New York City Fire Department
Pension Fund. Docket No. 24, p. 6.

After making these arguments regarding Fire,
however, Alberta/Boston admitted that even without Fire,
NYC's LIFO loss was $4,118,988, which is greater than
the LIFO loss of Alberta/Boston ($4,098,606). 6
Apparently recognizing that they would lose under the
LIFO methodology, Alberta/Boston shifted its focus and
made two arguments to avoid that result: (1) even though
NYC had the greater LIFO loss, the difference was "only
$20,382 or barely one-half of one percent more than
[Alberta/Boston's] losses" and that such a difference was
not significant; and (2) the Court should disregard the
insignificant difference and focus on the other factors,

Page 6 of 9 PagelD #: 471
Page 7

2011 U.S. Dist. LEXIS 149899, *17

such as net shares purchased and net expenditures.
Docket No. [*18] 48, p. 12.

6 Alberta/Boston did not explain how it
calculated NYC's LIFO loss, without Fire, at
$4,118,988. It is unclear whether, in making this
calculation, Alberta/Boston started with NYC's
LIFO loss set out in the Complaint ($4,413,165)
or the corrected LIFO loss of $4,474,719. NYC
stated that, even if Fire was excluded, NYC
suffered FIFO losses of $4,761,925 and LIFO
losses of $4,268,272. Docket No. 45, p. 22.
Obviously, if NYC is correct, the difference in
LIFO losses is approximately $169,000.

Alberta/Boston next argued that it should be
appointed lead Plaintiff because it purchased the most net
shares. Docket No. 48, p. 15. According to
Alberta/Boston, "a movant's net shares is determined by
‘substract[ing] the number of shares sold by a candidate
from those purchased during the Class Period.” Jd.
Alberta/Boston argued that its net shares purchased were
453,820, while NYC's net shares purchased (not
including Fire) were 406,217.

Finally, Alberta/Boston argued that their "net
expenditures" exceed those of NYC. Alberta/Boston
defined net expenditures as "the total amount spent
purchasing stock during the Class Period less the total
amount gained from the sale of the stock during [*19]
the Class Period." Docket No. 48, p. 11-12.
Alberta/Boston argued that it has more net expenditures
than NYC whether or not Fire is included.

Each of the moving parties later filed a Reply to the
other's Response. Docket Nos. 52, 53. In its Reply, NYC
cited two cases for the proposition that "the largest loss is
the critical ingredient in determining the largest financial
interest and outweighs net shares purchased and net
expenditures." See Richman v. Goldman Sachs Group,
Inc., 274 F.R.D. 473, 2011 WL2360291 at *6 (S.D.N.Y.);
Foley v. Transocean Ltd., 272 FRD 126 (S.D.N_Y. 2011).

It its Reply, NYC also argued that it purchased the
most shares, 726,966. 7 Docket No. 53, p. 6. It cited no
authority, however, for the proposition that the entity that
simply purchased the most shares has the largest financial
interest. NYC funds also made a complex argument that
it had more "net shares," but only "if LIFO/FIFO
matching is applied to shares sold during the Class
Period." Docket No. 52, p. 2-3.

Case 3:16-cv-02267 Document 39-4

Filed 10/24/16

7 It appears to the undersigned that this is a
typographical error, and that NYC actually
purchased 762,966 shares of CHS common stock.
Docket No. 34, p. 3.

NYC also argued, and Alberta/Boston agreed, that
"Courts are [*20] loath to appoint groups of movements
as lead plaintiff when doing so would mean the
individual movant with the largest financial interest
would not serve as lead plaintiff." Docket No. 53, p. 6;
Docket No. 48, p. 9 n.5; Goldberger v. PXRE Group,
Ltd., 2007 U.S. Dist. LEXTS 23925, 2007 WL 980417 at
*5 (S.D.N.Y.). NYC argued, essentially, that Alberta and
Boston are unrelated funds that have merely sought to
"team up to surpass the movant with the largest financial
interest .. . ." Docket No. 53, p. 6. NYC pointed out,
however, that it should be considered a single fund
(although there are several funds under the umbrella of
NYC), citing Aronson v. McKesson HBOC, Inc., 79 F.
Supp. 2d 1146, 1157 & n.11, which stated that the NYC

Funds are essentially one person for
purposes of the Reform Act, because they
fall under the jurisdiction of the New York
City Comptroller's Office, and are
represented in their dealings with private
counsel through one "in-house" counsel,
the corporate counsel of the city of New
York.

In their Reply, Alberta/Boston argued that NYC
wishes to "simply muddy the waters before the Court."
Docket No. 52, p. 6. They accused NYC of having
offered no fewer than eight different estimates of their
financial [*21] losses. Alberta/Boston repeated their
argument that the Fire fund is a net seller and net gainer
and should not be included in NYC's calculations. At the
same time, however, Alberta/Boston recognized that,
even without Fire, NYC has the largest loss calculated
under the LIFO methodology. Docket No. 52, p. 6-7.
Alberta/Boston also began to raise additional arguments,
based on the proposition that NYC Funds should not be
considered as one fund, but should be split into its
component funds.

Counsel for the movants have, as discussed above,
raised a number of interesting and complex arguments,
and obviously have attempted to zealously represent their
clients. At the same time, however, it appears that each

Page 7 of 9 PagelD #: 472
Page 8

2011 U.S. Dist. LEXIS 149899, *21

side has attempted to “muddy the waters," by raising
arguments that have nothing to do with the essential
questions before the Court. Echoing the concerns of the
Manual for Complex Litigation, the Court notes that it
could expend (and has expended) "significant judicial
resources" in attempting to assess the merits of the
competing parties’ positions. As the Manual says, in what
is undoubtedly a gross understatement, "The Court may
find it difficult to reconcile damage calculations based
[*22] on differing methodologies.”

Under the PSLRA, the primary focus of the Court
must be upon the Plaintiff who "has the largest financial
interest in the relief sought by the class... ."/5 U.S.C. §
78u-4(a)(3)(B) (iii) (bb). The Court is further mindful
of the fact that, "[T]he method used and the factors
considered in determining each movant's financial
interest remain fully within the discretion of the district
court." Garden City Employees' Retirement System v.
Psychiatric Solutions, Inc., 2010 U.S. Dist. LEXIS 42915,
2010 WL 1790763 at *3 (M.D. Tenn.) (citing Pirelli
Armstrong Tire Corp. Retiring Med. Benefits Trust v.
LaBranche & Co., 229 FRD 395, 406-07 (S.D.N.Y.
2004).

In the final analysis, the Court agrees that NYC has
the largest financial loss in the case at bar under either the
LIFO or FIFO methods. Under either of these methods,
NYC funds has the largest financial interest in the relief
sought by the class, and it is the “most adequate
plaintiff."

The Class Period in these cases is almost five years,
from July 27, 2006, through April 11, 2011. According to
the Complaint filed in Case No. 3:11-00433, the stock
reached a high during the Class Period of $43.04 on July
18, 2007. On April 8, 2011, prior to [*23] the disclosure
of the alleged fraud, the stock price was $40.30. The next
trading day after the disclosure of the alleged fraud, April
11, 2011, the stock dropped to $25.89. These are the only
hard numbers the Court has with regard to the fluctuation
of the stock price during the almost five years of the
Class Period. The Court believes that the three other
factors discussed by the parties (number of shares
purchased or sold during the Class Period, the net number
of shares purchased, and the net funds spent), do not
necessarily provide an appropriate measurement for
identifying the Plaintiff with the largest financial interest.

The Court's conclusion regarding the largest
financial interest triggers the rebutable presumption set

Case 3:16-cv-02267 Document 39-4

Filed 10/24/16

forth in § 78u-4(a)(3)(B) (iii) (1). There is no evidence that
NYC will not fairly and adequately protect the interests
of the class, nor is there any evidence to show that NYC
is subject to unique defenses that render it incapable of
adequately representing the Class, so the presumption has
not been rebutted.

For the foregoing reasons, the undersigned
recommends that NYC's Motion for Appointment as
Lead Plaintiff (Docket No. 23) be GRANTED.

The PSLRA also provides [*24] in relevant part,
"The most adequate Plaintiff shall, subject to the approval
of the court, select and retain counsel to represent the
class." 15 U.S.C. § 78u-4(a)(3)(B)(v). NYC seeks the
approval of Lowey Dannenberg Cohen & Hart, P.C., as
Lead Counsel for the Class and Miller & Martin PLLC as
local counsel. The Court must consider whether the
proposed counsel are qualified, experienced, and
generally able to conduct the litigation. See Stout v. J. D.
Byrider, 228 F.3d 709, 717 (6th Cir. 2000). Those firms
have submitted Resumes (Docket Nos. 25-6, 25-7)
showing that the proposed counsel are qualified,
experienced, and generally able to conduct the litigation.
NYC has also stated:

Lowey Dannenberg was selected by the
NYC Funds to act as Lead Counsel
through the NYC Funds' rigorous
multi-phased selection process . . . This
process included the negotiation of a
limitation of attorneys' fees that Lowey
Dannenberg may seek that are far less than
fees typically awarded in securities fraud
class action litigation . . . This selection
process and fee negotiation demonstrate
the NYC Funds commitment to run the
litigation and forestall a lawyer-driven
result disfavored by the PSLRA.

Docket No. [*25] 24, p. 21 (citations omitted).

For the foregoing reasons, the undersigned
recommends that the Court approve NYC's selection of
counsel.

The undersigned further recommends that the
Motion of Alberta/Boston for Appointment as Lead
Plaintiff and Approval of Selection of Counsel (Docket
No. 29) be DENIED.

Page 8 of 9 PagelD #: 473
Page 9

2011 U.S. Dist. LEXIS 149899, *25

Under Rule 72(b) of the Federal Rules of Civil
Procedure, any party has fourteen (14) days after service
of this Report and Recommendation in which to file any
written objections to this Recommendation with the
District Court. Any party opposing said objections shall
have fourteen (14) days after service of any objections
filed to this Report in which to file any response to said
objections. Failure to file specific objections within
fourteen (14) days of service of this Report and

Case 3:16-cv-02267 Document 39-4

Filed 10/24/16

Recommendation can constitute a waiver of further
appeal of this Recommendation. See Thomas v. Arn, 474
U.S. 140, 106 S.Ct. 466, 88 L. Ed. 2d 435 (1985), reh'g
denied, 474 U.S. 1111, 106 S. Ct. 899, 88 L. Ed. 2d 933
(1986); 28 U.S.C. § 636(b) (1); Fed. R. Civ. P. 72.

E. Clifton Knowles

United States Magistrate Judge

Page 9 of 9 PagelD #: 474
